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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                            )
                                                     )
v.                                                   )       CRIMINAL NO. 18-cr-10106-PBS
                                                     )
DEMONE COLEMAN,                                      )
             Defendant.                              )
                                                     )


               MOTION TO CONTINUE INITIAL STATUS CONFERENCE
                                (assented to)


       Defendant Demone Coleman hereby moves, with the assent of the government, that the

Court continue the initial status conference in this matter, scheduled for October 2, 2018, at

10:30 a.m., until Friday, October 5, or subsequent date convenient to the Court, due to the

unavailability of counsel.

       Counsel for Defendant asserts he has a pre-arranged a trip to meet with a client who is

incarcerated in upstate New York on October 2, 2018 and is therefore unavailable.

       WHEREFORE the Defendant respectfully requests the Court continue the initial status

conference until October 5, 2018, or subsequent date convenient to the Court.

                                                     Respectfully submitted,
                                                     DEMONE COLEMAN,
                                                     By his attorney,


                                                     /s/Ian Gold
                                                     Ian Gold (BBO# 665948)
                                                     Law Office of Ian Gold
                                                     2 Mill & Main Place, Ste. 260 EF
                                                     Maynard, MA 01754
                                                     (617) 297-7686 (phone)
                                                     ian.gold@iangoldlaw.com
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Date: September 28, 2018


                                CERTIFICATE OF SERVICE

       I hereby certify that true copies of this document will be served on the registered parties
through the ECF system on this date, Sept. 28, 2018.

                                              /s/Ian Gold
                                              Ian Gold




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